
985 So.2d 1108 (2008)
Douglas Lee HENSON, Appellant,
v.
James R. McDONOUGH, et al., Appellee.
No. 5D07-960.
District Court of Appeal of Florida, Fifth District.
April 8, 2008.
Rehearing Denied July 22, 2008.
Douglas Lee Henson, Lowell, pro se.
Bill McCollum, Attorney General and Holly N. Simcox, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Fla. R.App. Proc. 9.315(a).
GRIFFIN, SAWAYA and EVANDER, JJ., concur.
